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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
 In re:                                                            Chapter 11
 ORION HEALTHCORP, INC.                                            Case No. 18-71748 (AST)
 CONSTELLATION HEALTHCARE TECHNOLOGIES, INC.                       Case No. 18-71749 (AST)
 NEMS ACQUISITION, LLC                                             Case No. 18-71750 (AST)
 NORTHEAST MEDICAL SOLUTIONS, LLC                                  Case No. 18-71751 (AST)
 NEMS WEST VIRGINIA, LLC                                           Case No. 18-71752 (AST)
 PHYSICIANS PRACTICE PLUS, LLC                                     Case No. 18-71753 (AST)
 PHYSICIANS PRACTICE PLUS HOLDINGS, LLC                            Case No. 18-71754 (AST)
 MEDICAL BILLING SERVICES, INC.                                    Case No. 18-71755 (AST)
 RAND MEDICAL BILLING, INC.                                        Case No. 18-71756 (AST)
 RMI PHYSICIAN SERVICES CORPORATION                                Case No. 18-71757 (AST)
 WESTERN SKIES PRACTICE MANAGEMENT, INC.                           Case No. 18-71758 (AST)
 INTEGRATED PHYSICIAN SOLUTIONS, INC.                              Case No. 18-71759 (AST)
 NYNM ACQUISITION, LLC                                             Case No. 18-71760 (AST)
 NORTHSTAR FHA, LLC                                                Case No. 18-71761 (AST)
 NORTHSTAR FIRST HEALTH, LLC                                       Case No. 18-71762 (AST)
 VACHETTE BUSINESS SERVICES, LTD.                                  Case No. 18-71763 (AST)
 MDRX MEDICAL BILLING, LLC                                         Case No. 18-71764 (AST)
 VEGA MEDICAL PROFESSIONALS, LLC                                   Case No. 18-71765 (AST)
 ALLEGIANCE CONSULTING ASSOCIATES, LLC                             Case No. 18-71766 (AST)
 ALLEGIANCE BILLING & CONSULTING, LLC                              Case No. 18-71767 (AST)
 PHOENIX HEALTH, LLC                                               Case No. 18-71789 (AST)
 NEW YORK NETWORK MANAGEMENT, L.L.C.,                              Case No. 18-74545 (AST)
                              Debtors.                             (Jointly Administered)


               NOTICE OF MOTION TO ADMIT COUNSEL PRO HAC VICE

          PLEASE TAKE NOTICE that, upon the annexed affirmation of movant in support of

this motion, applicant will move this Court before the Honorable Alan S. Trust, at the United

States Bankruptcy Court, Alfonse M. D’Amato U.S. Courthouse, 290 Federal Plaza, Central

Islip, New York 11722, pursuant to Rule 2090-1(b) of the Local Rules of the United States

Bankruptcy Court for the Eastern District of New York, District Court Local Rule 1.3(c), and

District Court Administrative Order 97-13, for an Order allowing the admission of movant, an

attorney with the firm of SULMEYERKUPETZ, A.P.C. and a member in good standing of the
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Bar of the State of California, as attorney pro hac vice to argue or try this case, in whole or in

part as counsel.

                                       Respectfully submitted,

                                       __/s/ Matthew P. Kelly______________
                                       (Signature of Movant)


                                       __Matthew P. Kelly_________________
                                       (Print or Type Name)
Dated: May 5, 2021
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 NEW YORK NETWORK MANAGEMENT, L.L.C.,                             Case No. 18-74545 (AST)
                               Debtors.                           (Jointly Administered)

 AFFIRMATION IN SUPPORT OF MOTION TO ADMIT COUNSEL PRO HAC VICE

          MATTHEW P. KELLY, an attorney duly admitted to practice law in the State of

California, hereby affirms as follows under penalty of perjury:

   1. I am an attorney with the law firm of:

          SULMEYERKUPETZ, A.P.C.
          333 South Grand Avenue, Suite 3400
          Los Angeles, CA 90071-1406
          Telephone: (213) 626-2311


   2. I submit this affirmation in support of my motion for admission to practice pro hac vice
      in the above captioned matter.
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3. As shown in the Certificate of Good Standing annexed hereto, I am a member in good
   standing of the Bar of the State of California.

4. There are no pending disciplinary proceedings against me in any State or Federal Court.

5. I have not been convicted of a felony.

6. I have not been censured, suspended, disbarred or denied admission or readmission by
   any court.

7. Wherefore your affirmant respectfully submits that he be permitted to appear as counsel
   and advocate pro hac vice in this case.



Dated: May 5, 2021

                                               ___/s/ Matthew P. Kelly_______________
                                               Matthew P. Kelly
                                               SULMEYERKUPETZ, A.P.C.
                                               333 South Grand Avenue, Suite 3400
                                               Los Angeles, CA 90071-1406
                                               Telephone:    (213) 626-2311
                                               Email: mkelly@sulmeyerlaw.com
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 PHOENIX HEALTH, LLC                                                   Case No. 18-71789 (AST)
 NEW YORK NETWORK MANAGEMENT, L.L.C.,                                  Case No. 18-74545 (AST)
                                Debtors.                               (Jointly Administered)


                 ORDER FOR ADMISSION TO PRACTICE PRO HAC VICE

          The motion for admission to practice pro hac vice in the above-captioned matter is

granted. The admitted attorney, Matthew P. Kelly, is permitted to argue or try this particular

case, in whole or in part as counsel. The admitted attorney may, enter appearances for parties,

sign stipulations, receive payments upon judgments, decrees or orders, and otherwise serve as

counsel in this case.


          The Clerk is directed to enter the above attorney's appearance as counsel in the above-

captioned case. The above-named attorney must serve a copy of this Order on Debtor's counsel,
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the case trustee, and all parties who filed notices of appearance, and file a certificate of such

service within 10 business days of the date hereof.
